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   1   NICHOLAS M. WAJDA (State Bar #259178)
   2   Attorney Email Address: nick@wajdalawgroup.com
       WAJDA LAW GROUP, APC
   3   6167 Bristol Parkway, Suite 200
   4   Culver City, CA 90230
       Telephone: (310) 997-04 71
   5   Facsimile: (866) 286-8433
   6   Attorney for Plaintiff

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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA

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  11    JOSE A. ROJO,                            No. 8:19-cv-02348-JLS-ADS
  12                   Plaintiff,                MOTION FOR ENTRY OF DEFAULT
  13          v.

  14   CAPITAL LINK MANAGEMENT,
       LLC d/b/a CONSUMER CLIENT
  15   SERVICES,

  16   Defendant.

  17
                          AFFIDAVIT FOR ENTRY OF DEFAULT
  18
       STATE OF CALIFORNIA
  19
       COUNTY OF LOS ANGELES
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              Nicholas M. Wajda, being duly sworn, says that he is the attorney for the
  21   Plaintiff JOSE A. ROJO in the above-entitled action; that the Complaint and Wavier
  22   of Summons in this action were served on Defendant CAPITAL LINK
       MANAGEMENT, LLC, on December 5, 2019; that Defendant is not an infant, not
  23   in the military, and not an incompetent person; that the time within which Defendant
  24   may plead or otherwise defend has expired; that the Defendant has not plead,
       answered or otherwise defended, and that the time for Defendant to answer, plead or
  25   otherwise defend has not been extended.
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      I
                                        /Jf,cd'las M. Wajda, Esq.
     2                                 ,::>"Counsel for Plaintf/l
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